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                                    Jeffrey N. Pomerantz           December 23, 2020                    310.772.2336
                                                                                              jpomerantz@pszjlaw.com

L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
N E W Y O R K, N Y

10100 SANTA MONICA BLVD.
13th FLOOR
LOS ANGELES
                                    Via E-mail
CALIFORNIA 90067
                                    D. Michael Lynn
TELEPHONE:      310/277 6910
                                    Bonds Ellis Eppich Schafer Jones
             310/201 0760
FACSIMILE:
                                    LLP
                                    420 Throckmorton Street
                                    Suite 1000
                                    Fort Worth, Texas 76102

                                               Re:         Termination of James Dondero Access to Office
                                                           and Services

                                    Dear Judge Lynn:
SAN FRANCISCO
150 CALIFORNIA STREET               As you know, on December 10, 2020, a temporary restraining order
15th FLOOR                          was entered against Mr. James Dondero by the Bankruptcy Court for
SAN FRANCISCO
                                    the Northern District of Texas, Dallas Division (the “TRO”). Case
CALIFORNIA 94111-4500
                                    No. 20-03190-sgj, Docket No. 10 (Bankr. N.D. Tex. Dec. 10, 2020.
TELEPHONE: 415/263 7000

FACSIMILE: 415/263 7010
                                    Pursuant to the TRO, Mr. Dondero was, among others things,
                                    prohibited from communicating with the employees of Highland
DELAWARE
919 NORTH MARKET STREET
                                    Capital Management, L.P. (the “Debtor”) (subject to certain limited
17th FLOOR                          exceptions) and interfering with or otherwise impeding, directly or
P.O. BOX 8705                       indirectly, the Debtor’s business. We have discussed with you
WILMINGTON
                                    several instances in which Mr. Dondero breached the terms of the
DELAWARE 19899-8705
                                    TRO and will not repeat them here.
TELEPHONE: 302/652 4100

FACSIMILE: 302/652 4400
                                    As you also know, the Debtor manages certain collateralized loan
                                    obligations (the “CLOs”). The Debtor sought to cause the CLOs to
NEW YORK
                                    sell certain publicly-traded equity securities, including AVYA and
780 THIRD AVENUE
34th FLOOR
                                    SKY (tickers), prior to Thanksgiving. Mr. Dondero blocked these
NEW YORK                            trades. That conduct, among other things, caused the TRO to be
NEW YORK 10017-2024                 entered.
TELEPHONE: 212/561 7700

FACSIMILE: 212/561 7777             These trades were also the subject to the Motion for Order Imposing
                                    Temporary Restrictions on Debtor’s Ability, as Portfolio Manager,
WEB:   www.pszjlaw.com


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                       to Initiate Sales by Non-Debtor CLO Vehicles [D.I. 1528] (the
                       “CLO Motion”), which was filed by, among others, NexPoint
                       Advisors, L.P. (“NPA”) and Highland Capital Management Fund
                       Advisors, L.P. (“HCMFA”). At the hearing on December 16, 2020,
                       Judge Jernigan stated both that she agreed that the CLO Motion was
                       brought by “Mr. Dondero, through different entities” and that it was
                       frivolous.

                       On December 22, 2020, employees of NPA and HCMFA notified
                       the Debtor that they would not settle the CLOs’ sale of the AVYA
                       and SKY securities. To justify their conduct, those employees
                       mimicked the frivolous arguments made in the CLO Motion. This
                       conduct violated the TRO, and HCMLP reserves all rights to seek
                       appropriate sanctions with respect to such violation.

                       As a result of this conduct, among other things, HCMLP has
                       concluded that Mr. Dondero’s presence at the HCMLP office suite
                       and his access to all telephonic and information services provided by
                       HCMLP are too disruptive to HCMLP’s continued management of
                       its bankruptcy case to continue.

                       As a consequence, Mr. Dondero’s access to the offices located at
                       200/300 Crescent Court, Suite 700, Dallas, Texas 75201 (the
                       “Office”), will be revoked effective Wednesday, December 30, 2020
                       (the “Termination Date”). As of the Termination Date, Mr.
                       Dondero’s key card will be de-activated and building staff will be
                       informed that Mr. Dondero will no longer have access to the Office.

                       Further, as of the Termination Date, Mr. Dondero’s access to his
                       @highlandcapital.com email account will be revoked, and Mr.
                       Dondero will no longer have access to that email account or any
                       emails, calendars, or contacts associated with that email account.

                       In addition, Mr. Dondero’s access to the HCMLP system and all
                       services maintained on that system, including his Bloomberg
                       terminal, will be revoked as of the Termination Date.

                       HCMLP will also terminate Mr. Dondero’s cell phone plan and
                       those cell phone plans associated with parties providing personal
                       services to Mr. Dondero (collectively, the “Cell Phones”). HCMLP
                       demands that Mr. Dondero immediately turn over the Cell Phones to
                       HCMLP by delivering them to you; we can make arrangements to
                       recover the phones from you at a later date. The Cell Phones and


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                       the accounts are property of HCMLP. HCMLP further demands that
                       Mr. Dondero refrain from deleting or “wiping” any information or
                       messages on the Cell Phone. HCMLP, as the owner of the account
                       and the Cell Phones, intends to recover all information related to the
                       Cell Phones and the accounts and reserves the right to use the
                       business-related information.

                       Any attempt by Mr. Dondero to enter the Office, regardless of
                       whether he is entering on his own or as a guest, will be viewed as an
                       act of trespass. Similarly, any attempts by Mr. Dondero to access
                       his @highlandcapital.com email account or any other service
                       previously provided to Mr. Dondero by HCMLP will be viewed as
                       an act of trespass, theft, and/or an attempted breach of HCMLP’s
                       security protocols.

                       Finally, HCMLP demands that Mr. Dondero take all steps necessary
                       to retain and protect from loss, destruction, alteration or defacement
                       all documents, communications, and information relating to the
                       Debtor, the Debtor’s assets, any assets managed by the Debtor, or
                       the Debtor’s employees.

                       HCMLP reserves all rights that it may have whether at law, equity,
                       or in contract, including the right to restrict the access of HCMFA
                       and NPA employees to the Office and HCMLP-provided services.
                       Nothing herein will be construed as a waiver of any such rights.

                                                        Sincerely,


                                                        f.Ponerantzlgup
                                                        Jeffrey N. Pomerantz



                       cc:     Ira Kharasch, Esq.
                               John Morris, Esq.
                               Gregory Demo, Esq.




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